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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS

GREGORY GODFREY and JEFFREY
SHELDON, on behalf of the MCBRIDE &
SON EMPLOYEE STOCK OWNERSHIP
PLAN, and on behalf of a class of all other
persons similarly situated,

                         Plaintiffs,
                                                      Case Number 18-cv-07918
v.
                                                      Judge Matthew F. Kennelly
GREATBANC TRUST COMPANY,
MCBRIDE & SON MANAGEMENT                              Magistrate Judge Michael T. Mason
COMPANY, LLC, JOHN F. EILERMANN,
JR., MICHAEL D. ARRI, ANDREA
TEMPLETON, JOHN DOES 1 - 10, and
MCBRIDE & SON CAPITAL, INC.,

                         Defendants.

                 DEFENDANTS’ JOINT OPPOSITION TO PLAINTIFFS’
                       MOTION TO COMPEL DISCOVERY

       Plaintiffs’ Motion to Compel is a thinly-veiled attempt to finagle the Court into

permitting merits discovery to prop up their threadbare Complaint. The Motion points to the

principle that the Federal Rules permit “broad, liberal discovery[,]” Mot. at 3 (citation omitted),

ignoring the Constitutional and pleading hurdles that stand between them and merits discovery.

At this stage of the case, “the party seeking jurisdictional discovery must explain how the

evidence it seeks will raise a genuine issue of material fact relevant to subject matter

jurisdiction.” F.D.I.C. v. Dosland, 50 F. Supp. 3d 1070, 1078 (N.D. Iowa 2014). Plaintiffs’

Motion fails to do so.

                                        I.     Background

       Plaintiffs’ Complaint is based on the proposition that, as a result of the November 30,

2017 redemption of shares held by the McBride & Son Employee Stock Ownership Plan (the


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“Plan” or the “ESOP”), they have “suffered a diminution in the value of their Plan accounts

because the Plan received a reduced price for MS Capital stock.” Compl. ¶ 132. The McBride

Defendants’ Motion to Dismiss for Lack of Subject Matter Jurisdiction1 similarly was based on a

single factual premise: that Plaintiffs suffered no injury-in-fact because they did not hold shares

that were included in that transaction.2 This Court decided that limited jurisdictional discovery

was needed to determine whether that premise was true or false. See Dkt. No. 28 (“Plaintiffs

may take limited discovery within 30 days as stated in open court.”) (emphasis added); Feb. 12,

2019 Hr’g Tr. at 10:10-15 (“[THE COURT:] [W]e are not talking about wide ranging discovery

here. We are talking about an extremely modest number of documents . . . sufficient to show . . .

a couple of key points[.]”).

        After meeting and conferring with Plaintiffs’ counsel, Defendants agreed to—and did—

produce (1) documents authorizing the conversion of Plaintiffs’ stock on November 1, 2017, (2)

bank account statements and wire transfer details evincing the conversion of Plaintiffs’ stock on

November 1, 2017, (3) correspondence between McBride Defendants and Plaintiffs concerning

their accounts in the Plan and the 401(k) between October 2017 and April 2018, (4) Plaintiffs’

401(k) account statements from the fourth quarter of 2017 and the first quarter of 2018, (5)

documents reflecting the conversion of the Plan to a profit sharing plan and the subsequent

merger into the McBride 401(k) savings plan, and (6) as a courtesy (as they are not relevant to

the standing question), certain documents explaining the recapitalization process referred to in

correspondence to Plaintiffs. The documents Defendants produced show that the Plaintiffs’



1
  Defendant GreatBanc also moved to dismiss for lack of subject matter jurisdiction, adopting the
reasoning of McBride Defendants. Dkt. No. 26.
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  Defendants have also moved to dismiss Plaintiffs’ claims as to the December 2015 transaction for lack
of constitutional standing. Dkt. No. 24 at 5-6; Dkt. No. 26. Plaintiffs seek no documents concerning that
transaction.

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ESOP accounts were cashed out before the transaction alleged in the Complaint. Nothing more

is needed.

                                         II.     Argument

       Despite Defendants’ agreement to produce the documents described above, Plaintiffs

have moved to compel production of additional documents concerning (1) the “fiduciary

process” that led to the conversion of Plaintiffs’ stock on November 1, 2017 and (2) “valuation

reports and supporting material” used in connection with the November 1, 2017 conversion of

Plaintiffs’ stock. Plaintiffs fail to explain how these documents are at all relevant to the sole

jurisdictional issue—whether Plaintiffs suffered a personal injury in connection with the

transaction alleged in the complaint. Documents regarding the fiduciary process and valuation

would not provide useful evidence of the Plaintiffs’ standing. There is no circumstance or

scenario that such evidence would establish that the Plaintiffs are the proper party to assert

claims on behalf of the ESOP. Simply put, Plaintiffs’ requests are immaterial. Indeed, this

Court will search in vain for any mention of valuations or the so-called fiduciary process as a

basis for McBride Defendants’ motion to dismiss, and likewise no reference to the November 1,

2017 conversion in Plaintiffs’ complaint. This is fatal to Plaintiffs’ requests.

       Plaintiffs’ assertions that Defendants “refuse to produce document[s]” that show

Plaintiffs were unaffected by the complained-of transaction and that Plaintiffs’ requests are

“specifically relevant” to “whether the [conversion of Plaintiffs stock on November 1, 2017]

took place at all” are simply false. Mot. 5, 6. Defendants do not dispute that Plaintiffs are

entitled to facts showing just that. But what Plaintiffs fail to acknowledge is that—after

producing, among other things, documents providing the authority to convert Plaintiffs’ stock,

correspondence between McBride Defendants and GreatBanc concerning the conversion of



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Plaintiffs’ stock, bank account and wire transfer details, communication between McBride

Defendants and Plaintiffs concerning their ESOP and 401(k) accounts, 401(k) account

statements, and documents detailing the recapitalization process—Defendants have divulged

those facts and more.

       Plaintiffs principally rely on a disfavored out-of-Circuit decision in an effort to obtain a

broader range of documents than those necessary to answer the jurisdictional question. Plaintiffs

cite the Second Circuit’s decision in NECA-IBEW Health & Welfare Fund v. Goldman Sachs &

Co. and argue they will have standing if the conversion of their shares on November 1, 2017 (a

transaction not included in the Complaint) “implicates the ‘same set of concerns’” as the

November 30, 2017 transaction. Mot. at 2, 3, 5, 6 (quoting NECA-IBEW Health & Welfare Fund

v. Goldman Sachs & Co., 693 F.3d 145, 162 (2d Cir. 2012)). Not so.

       The situation presented in NECA-IBEW was fundamentally different from the situation

here. In that case, the court had “already held that NECA personally suffered injury as a

result of defendants’ inclusion of allegedly misleading statements in the Offering Documents

associated with the Certificates it purchased,” and therefore possessed Article III standing. 693

F.3d at 162 (emphasis added). Having established Article III standing, the question was whether

Plaintiff further had class standing to represent certain other individuals who purchased different

certificates. The opposite is true here. Plaintiffs have not shown (and cannot show) they

suffered any personal injury in connection with the transaction alleged in the Complaint. It is

undisputed that Plaintiffs were not involved in that transaction because their Company stock was

liquidated on November 1, 2017—a month before the transaction closed. Yet they ask this Court

to confer Article III standing on the basis of that previous liquidation not alleged in the




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Complaint, without any showing of personal harm. They are uninjured individuals seeking to

represent absent parties—a far cry from the situation in the case on which they rely.

        Moreover, numerous courts have rejected the NECA-IBEW decision setting forth the class

standing standard Plaintiffs seek to apply. In In re Countrywide Financial Corp. Mortgage-

Backed Securities Litigation, the court explained, “[t]he Court again rejects the reasoning of the

Second Circuit’s recent decision [in NECA-IBEW] on class standing. That decision is

inconsistent with Supreme Court precedent. … The decision is inconsistent with the prior

rulings of every federal court to consider similar questions in the [residential mortgage-backed

securities] context, including the First Circuit Court of Appeal and numerous district courts, both

in and outside the Second Circuit. Those courts extend standing only to the offerings or tranches

purchased by the named plaintiff.” 934 F. Supp. 2d 1219, 1229 (C.D. Cal. 2013) (emphasis

added) (internal citations omitted).3 Instead, the standard is the one articulated by the Supreme

Court: that Plaintiffs must show they have actually suffered an injury-in-fact as a result of the

transaction alleged in the complaint. See Spokeo, Inc. v. Robbins, 136 S. Ct. 1540, 1548 (2016).4




3
  See also Oklahoma Law Enf’t Ret. Sys. v. Adeptus Health Inc., No. 4:17-CV-00449, 2018 WL 4352836,
at *6 (E.D. Tex. Sept. 12, 2018) (explaining that the class standing doctrine of NECA-IBEW “has not been
adopted by the Fifth Circuit and a district court within the Fifth Circuit has rejected the doctrine in its
entirety. . . . [T]he class standing doctrine does not comport with the traditional rules of standing and []
the Supreme Court never intended to create such a doctrine.”).
4
  Plaintiffs also cite a myriad of cases in which courts have found that a plan participant has standing to
challenge a plan’s lineup of investment options, even if the participant did not personally invest in each of
the challenged funds. Contrary to Plaintiffs’ suggestion, however, those cases are far from universally
accepted, and they are inapposite. See, e.g., Wilcox v. Georgetown Univ., No. CV 18-422 (RMC), 2019
WL 132281, at *9 (D.D.C. Jan. 8, 2019) (“Plaintiffs clearly cannot allege an individual violation of
ERISA as to the Vanguard funds, which is an investment option neither Plaintiff selected.”); Johnson v.
Delta Air Lines, Inc., No 1:17-cv-2608, 2017 WL 10378320, at *2 (N.D. Ga. Dec. 12, 2017) (“Plaintiffs
have not alleged that they were invested in the criticized funds or paid the allegedly excessive fees.
Therefore, Plaintiffs do not have standing.”). Here, Plaintiffs were not a part of the transaction at issue at
all, and this line of cases does not save them.


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       There is no reason to relieve Plaintiffs of meeting this standard and to permit discovery

outside the confines of the jurisdictional question before this Court. Accordingly, Plaintiffs’

Motion should be denied.

                                        III.   Conclusion

       For the foregoing reasons, Defendants respectfully request that Plaintiffs’ Motion to

Compel Discovery be denied.



Dated: March 6, 2019                                 Respectfully submitted,

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